Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.343 Filed 08/08/23 Page 1 of 8




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,                CR. NO. 22-20504

v.                                         HON. Jonathan J.C. Grey

AWS MOHAMMED NASER,

                 Defendant.
                                   /

      MEMORANDUM IN ADVANCE OF STATUS CONFERENCE




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Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.344 Filed 08/08/23 Page 2 of 8




                                            I.

                                      Background

      On October 5, 2022, Aws Naser was indicted on two counts: (1) Attempting to

Provide Material Support and Resources to a Foreign Terrorist Organization, in

violation of 18 U.S.C. § 2339B(a)(1); and (2) Felon in Possession of a Destructive

Device, in violation of 18 U.S.C. § 922(g)(1). Count One alleged a continuing offense

from December 2011 through October 30, 2017. Count Two alleged the possession

of the destructive device on October 30, 2017.

      Mr. Naser was indicted almost five years after the completion of his alleged

offenses, and just 25 days short of the expiration of the statute of limitations for

Count Two. The federal investigation into Mr. Naser began long before he is alleged

to have completed his charged offenses, Henry Ford College campus security

reported Mr. Naser to the FBI in 2011. The FBI began surveillance of him as early as

2012. The FBI conducted two searches of Mr. Naser’s home, in 2013 and 2017.

      Of the six-year period covered in the indictment, Mr. Naser was incarcerated in

the Michigan Department of Corrections for half that time, for January 2013 to

January 2016. Further, he has been incarcerated continuously since October 30, 2017.

      Mr. Naser made his initial appearance on the indictment on November 15,

2022. On that date he initially waived is anti-shuffling rights under the Interstate

Agreement on Detainers. However, he moved to revoke that waiver on January 4,

2023. The Court granted that request on January 10, 2023.

                                            2
Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.345 Filed 08/08/23 Page 3 of 8




       On December 21, 2023, the Government moved to designate the case as

complex pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) and requested that the Court make

a finding that the case cannot proceed to trial within 70 days as provided by §

3161(c)(1). The Court has not yet decided that motion.

       Throughout every status conference held on this case, before three different

district court judges, Mr. Naser has, either himself or through counsel, expressed his

desire for a speedy trial. The Government’s chief response to this claim is that they

need additional time to redact, summarize, declassify, and produce classified

information and that this process is largely out of the control of the Department of

Justice attorneys with responsibility for the case. The purpose of the upcoming

August 9, 2023, hearing is to update the Court on the status of that production.

       This case has been ongoing for almost 9 months and the Court is still not able

to set a trial date due to lack of information regarding the timing of disclosure of the

classified information. Further, up to this date, the Government has been unable to

provide a sufficient timeline so that a definite trial date could be set.

                                             II.

                    United States v. Donald Trump (S.D. of Florida)

       On June 8, 2023, the United States indicted Donald J. Trump on 37 counts

relating to the retention of classified documents after his presidency. Many or most

of these documents relate to national security. Those documents include White

House intelligence briefings, the military and nuclear capabilities of foreign countries,

                                             3
Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.346 Filed 08/08/23 Page 4 of 8




the nuclear weaponry of the United States, and military contingency plans to invade

Iran. See S.D. Florida, 23-cr-80101, R. 3, Indictment.

      Despite that large amount of classified national defense information, the

Government in that case sought a trial date of December 11, 2023, approximately six

months after indictment.. It proposed having classified information available for

defense review within two months. See S.D. Florida, 23-cr-80101, R. 34,

Government’s Motion for Continuance. The court eventually set a trial date of May

20, 2024, 10 months after indictment. See S.D. Florida, 23-cr-80101, R. 83, Order

Granting in Part Government’s Motion to Continue.

                                           III.

                           The Law Governing Speedy Trial

      By statute, the Speedy Trial Act, federal criminal trials should commence within

70 days of the latter of either the defendant’s indictment or first appearance in court.

18 U.S.C. § 3161(c)(1). Subsection (h)(1) of § 3161 contains a number of exclusions

from the calculation of the 70 days required for a speedy trial. Relevant to this case,

the time between the filing of a motion and the conclusion of a hearing on that

motion is excluded. 1 18 U.S.C. § 3161(h)(1)(D). The district court is allowed an

additional 30 days to consider and decide any pretrial motions. 18 U.S.C. §

3161(h)(1)(H).


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 Courts have interpreted this section as excluding the time between the filing of the
motion and the period wherein the Court has all available information to decide the
motion. See Henderson v. United States, 476 U.S. 321, 329 (1986).
                                            4
Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.347 Filed 08/08/23 Page 5 of 8




       In addition to the excludable time under 18 U.S.C. § 3161(h), the Speedy Trial

Act allows courts to grant a continuance of a trial date when “the ends of justice

served by taking such action outweigh the best interest of the public and the

defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). One such situation

warranting a continuance is the reason sought by the Government here, that the case

is unusually complex. 18 U.S.C. § 3161(h)(7)(B)(ii).

       In addition to the Speedy Trial Act, because Mr. Naser is serving a state

sentence, this case involves the Interstate Agreement on Detainers. That agreement

provides that upon delivery of a defendant to a charging jurisdiction, a trial most

commence within 120 days absent good cause shown in open court. IAD, 18 U.S.C.

Appx. 2, Article IV(c).

                                            IV.

                   The Ends of Justice and Good Cause in this Case

       Mr. Naser has an upcoming parole hearing in the Michigan Department of

Corrections (MDOC). Because he has been in federal custody, he has been unable to

complete necessary programing to gain release. He could waive his IAD anti-

shuffling right and return to state custody, however, because of the protective order

entered in this case and the MDOC visiting policies, this would make it impossible for

defense counsel to review the discovery with Mr. Naser and prepare for trial. He has

been left with the choice of preparing for this trial or participating in parole

programming.

                                             5
Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.348 Filed 08/08/23 Page 6 of 8




       The delay in this trial has been attributable, in the most part, to the

Government’s need to prepare classified information. After a 10 plus year

investigation into conduct which is alleged to have been complete 5 years prior to the

indictment, the Government has not completed this review and preparation in 9

months. Because the case involves classified information, the Court has largely

deferred to the Government’s statements that this time is necessary and unavoidable.

The timeline set in Donald Trump’s classified document case in the Southern District

of Florida reveals that, when the Government believes it is in its own best interest, it

can quickly review and prepare for trial in case involving evidence at the highest level

of classification available.

       Jack Smith assumed the office of special counsel on November 22, 2022. He

told the court in the Southern District of Florida that he could proceed to trial on a

case involved 30+ classified documents involving national security within 13 months

of beginning his investigation.

       Mr. Naser is not Mr. Trump. He is not splitting his time between Mar-a-Lago

and Bedminster and flying to his court appearances on Trump Force One. He is

sitting at the Federal Detention and being driven to Detroit in the back of a van in

handcuffs. For equal justice of have meaning, the Government must apply the same

urgency to Mr. Naser’s case as it has to Mr. Trump’s.




                                             6
Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.349 Filed 08/08/23 Page 7 of 8




                                           V.

                                       Conclusion

      At the August 9, 2023, status conference, this Court should review the timeline

of this case and the proposed schedule going forward to determine if the delay has

truly been necessary, or simply convenient for the Government as they prioritize the

review of other material over the classified evidence in this case.




                                  Respectfully submitted,

                                  FEDERAL COMMUNITY DEFENDER

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Dated: August 8, 2023




                                            7
Case 2:22-cr-20504-JJCG-DRG ECF No. 69, PageID.350 Filed 08/08/23 Page 8 of 8




                           CERTIFICATE OF SERVICE

        I hereby certify that on August 8, 2023, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of such
filing to the parties of record.

                                                Signed,

                                                s/Amanda N. Bashi
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Dated: August 8, 2023




                                            8
